     Case 4:21-cr-20405-MFL-CI ECF No. 16, PageID.57 Filed 09/28/21 Page 1 of 4




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,
                                              CASE NO: 21-CR-20405
                    Plaintiff,
v.                                            HON. MATTHEW F. LEITMAN
                                              United States District Judge
NOE GARZA,
                                    HON. CURTIS IVY, JR.
               Defendant.           United States Magistrate Judge
_________________________________________________________________

           United States of America’s Response in Opposition to
      Defendant’s Motion to Suppress Physical Evidence (ECF No. 15)
__________________________________________________________________

        Police officers arrested Noe Garza and found cash and buprenorphine (a

controlled substance known by the trade name Suboxone) in Garza’s pockets. After

arresting Garza, officers towed and impounded his car and they found a handgun with

an obliterated serial number in the engine compartment. A federal grand jury indicted

Garza for being a felon in possession of a firearm (count 1), possessing a firearm with

an obliterated serial number (count 2), and possessing with the intent to distribute

buprenorphine (count 3). (Indictment, ECF No. 9, PageID.22-23.) Garza has filed a

motion to suppress physical evidence (ECF No. 15) in which he claims that officers

did not have probable cause to arrest him. As discussed below, there was a valid

arrest warrant for Garza at the time officers arrested him, so the Court should deny

his motion.
  Case 4:21-cr-20405-MFL-CI ECF No. 16, PageID.58 Filed 09/28/21 Page 2 of 4




      On November 26, 2020, police officers from the Metro Police Department

were at Meijer store on Hill Road in Mundy Township, Michigan to discuss an

unrelated investigation. While the officers were at the store, a Meijer employee

reported seeing a person in the store actively concealing merchandize. Meijer

employees saw the person leave the store without paying for the items and saw the

person go to a white Pontiac Grand Prix that was parked in the Meijer parking lot.

After speaking with Meijer employees about the alleged shoplifting, the officers

approached the white Pontiac Grand Prix. Officers contacted Noe Garza, who was

sitting in the driver’s seat of the Grand Prix, and Robert Hutchins, who was in the

rear driver’s side of the car and who was the person suspected of the shoplifting.

      At the time, Garza was subject to a bench warrant (Warrant, Ex. 1) for failing

to appear in a domestic violence case (Register of Actions, Ex. 2). The warrant had

been entered into the LEIN—the Law Enforcement Information Network. (Record of

Warrant entry into LEIN, Ex. 3).

      Officers put Garza and Hutchins in handcuffs. Police searched Garza’s pockets

and found 17 Suboxone doses along with $810 in cash. Officers later searched the

inside and trunk of the Pontiac Grand Prix and found drug paraphernalia, a small

amount of methamphetamine, two more doses of Suboxone, marijuana, stolen

merchandize from Meijer, and a round of 9mm ammunition. They towed and


                                          2
  Case 4:21-cr-20405-MFL-CI ECF No. 16, PageID.59 Filed 09/28/21 Page 3 of 4




impounded the car and later found a 9 mm caliber pistol with an obliterated serial

number in the engine compartment.

      A federal grand jury indicted Garza ECF No. 9, PageID.22-23), and he has

filed a motion to suppress evidence (ECF No. 15). The Court should deny the motion.

      When officers arrested Garza, they were entitled to lawfully search Garza and

his immediate surroundings. See Arizona v. Gant, 556 U.S. 332, 339 (2009)

(discussing the permissible scope of searches incident to arrest). Garza, however,

claims that his arrest was unlawful and has filed a motion to suppress all physical

evidence seized as a result of the arrest. (Def’s Mot to suppress, ECF No. 15,

PageID.48). Specifically, Garza’s motion challenges whether the officers had

probable cause to arrest him based on information they had received from Meijer

employees and their own observations on November 26th, 2020. (ECF No. 15,

PageID.47, ¶ 26.) Garza’s motion does not address the fact that there was a bench

warrant for his arrest. But even under the facts that Garza has set forth in his motion,

officers had reasonable suspicion to justify a Terry stop. And officers would have

inevitably seized the same evidence that Garza seeks to suppress because they would

have arrested him on the bench warrant.




                                          3
  Case 4:21-cr-20405-MFL-CI ECF No. 16, PageID.60 Filed 09/28/21 Page 4 of 4




      The Court should deny Garza’s motion to suppress evidence.



                                       Respectfully Submitted,

                                       SAIMA S. MOHSIN
                                       United States Attorney

Dated: September 28, 2021              s/ Jules M. DePorre
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                           CERTIFICATE OF SERVICE

      I hereby certify that on Tuesday, September 28, 2021, I electronically filed

the foregoing document with the Clerk of the Court using the CM/ECF system

which will send notification of such filing to the following:

Charles Longstreet II
                                              s/Jules M. DePorre
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